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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                 4:14CR3114
      vs.
                                                 FINDINGS, RECOMMENDATION,
SONIA HERNANDEZ, FREDDY                                  AND ORDER
HERNANDEZ JR.,
                    Defendants.


      This matter is before the court on Defendants Sonia Hernandez’ and Freddy
Hernandez, Jr.’s motions to suppress (Filing No. 42 and Filing No. 40, respectively).
For the reasons set forth below the motions should be denied.


                                   BACKGROUND


      On June 21, 2014, Nebraska State Patrol Trooper Rob Pelster observed and
clocked by radar a Ford Expedition traveling in excess of eighty-four miles per hour in a
seventy-five (75) mile per hour zone on Interstate 80 near Seward, Nebraska.          At
approximately 7:16 a.m., Trooper Pelster initiated a traffic stop of the Expedition. The
driver, as identified by her California driver’s license, was defendant Sonia Hernandez.
The passenger, as identified by his Virginia driver’s license, was defendant Freddy
Hernandez, Jr., Sonia Hernandez’ nephew.


      Trooper Pelster approached the passenger side of the vehicle.       He asked the
defendants to provide their driver’s licenses and asked if the Expedition was a rental.
Sonia Hernandez confirmed the Expedition was rented and upon request, provided the
rental agreement to Trooper Pelster. The Expedition was rented by Sonia Hernandez and
she was listed as the only approved driver on the rental contract.       Trooper Pelster
explained he had clocked the speed of the vehicle on his radar at between eighty-four
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(84) and eighty-eight (88) miles per hour. He further informed Sonia Hernandez that she
would receive a citation for speeding. Trooper Pelster then took the licenses and the
rental contract and asked Sonia Hernandez to accompany him back to his patrol car.


       Once inside the patrol car, Trooper Pelster contacted his dispatcher and requested
checks on the defendants’ drivers’ licenses and criminal histories. While entering the
information necessary to issue a citation and awaiting a response from dispatch, Trooper
Pelster questioned Sonia Hernandez about the details of her trip. He quickly learned
Sonia Hernandez and Freddy Hernandez, Jr. were traveling from a suburb of Los
Angeles, California to Buffalo, New York.          Sonia Hernandez explained that the
defendants planned to return the rental car in Buffalo and proceed by airplane to Virginia
– Freddy Hernandez, Jr.’s state of residence and the location of other members of the
Hernandez family. Sonia Hernandez then intended to fly back to California. In response
to Trooper Pelster’s further inquiries, Sonia Hernandez stated that neither she nor
defendant Freddy Hernandez, Jr. had family or friends in Buffalo, and she did not know
how long they intended to stay in Buffalo or what they intended to do besides check into
the first motel they could find.


       Trooper Pelster asked Sonia Hernandez to explain why she was driving a rental
vehicle to Buffalo, New York, and was then flying to Virginia before flying back to
California, particularly since the rental contract reflected a $1,100 cost for the one-way
vehicle rental alone. Sonia Hernandez responded that paying the one-way rental cost to
Buffalo was more cost effective because round-trip airfare from Los Angeles to Virginia
was $1,000 per person. When asked about the dates of travel she stated she did not know
when they were going to leave Buffalo or when she would be traveling from Virginia
back to Los Angeles; therefore, she had not yet purchased airline tickets for those legs of
the journey.




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       Trooper Pelster returned to the Expedition to ask Freddy Hernandez, Jr. for his
social security number to confirm the accuracy of background checks and criminal
history. Upon questioning, Freddy Hernandez, Jr. confirmed the route of the defendants’
travel, but unlike Sonia Hernandez, Freddy Hernandez, Jr stated they were visiting some
of his relatives in Buffalo. But he could not name those relatives or the relative with
whom they intended to stay.


       Upon returning to the patrol car, Trooper Pelster continued his conversation with
Sonia Hernandez while awaiting the criminal background information.            Despite her
statement to the contrary, the background check revealed Sonia Hernandez had a criminal
history. And she was the subject of an open investigation by federal law enforcement.


       Trooper Pelster issued a citation to Sonia Hernandez. As she was exiting the
patrol car, the trooper asked her if she would consent to answering a few more questions.
She agreed, and in response to Trooper Pelster’s questioning, she denied having any
illegal drugs in the Expedition. The trooper then asked Sonia Hernandez for permission
to search the Expedition. She refused consent. Trooper Pelster asked Sonia Hernandez if
she was willing to wait while he called for a K-9 unit to arrive at the scene of the traffic
stop to conduct a dog sniff of the Expedition. She consented to do so. Upon Trooper
Pelster’s request, Freddy Hernandez, Jr. also consented to waiting for the canine to arrive
and perform a dog sniff.


       Sergeant Christopher Pleiss joined Trooper Pelster at the stop. Trooper Pelster
updated Sergeant Pleiss on the status of the stop and told him Sonia Hernandez consented
to the dog sniff, but the only available K-9 unit was some distance away. Pelster
proceeded to the Expedition and, using a flashlight, looked into the passenger side
window above the rear quarter panel Through the slit in the quarter panel where the seat
belt was housed, he saw a silver material and what he believed to be a portion of a tape


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wrapped package—consistent with the packaging commonly used for illegal drugs. He
also saw an area where a portion of the casing on the rear quarter panel on the inside of
the Expedition appeared to have been pried up or doctored in some way. Based on their
experience, the officers believed the void in the rear quarter panel of the vehicle was
being used to hide illegal drugs during transport. Trooper Pelster determined probable
cause existed to search the vehicle. He and Pleiss conducted the search and found a
silver covering along with several packages wrapped in black or red tape located within
the vehicle, including in the rear quarter panel area. The officers placed the Hernandez’
in custody.


                                        ANALYSIS


       Both Sonia Hernandez and Freddy Hernandez, Jr. seek the suppression of the
evidence seized as a result of the search of the Expedition and any statements Defendants
made during the traffic stop, and after they were detained and the vehicle was searched.
Defendants assert Trooper Pelster did not have a legal basis for stopping the Expedition,
detained them in violation of their rights to be free from an unreasonable seizure under
the Fourth Amendment, and did not have probable cause to conduct a warrantless search
of the Expedition.


       1.     Traffic Stop


       Defendant Sonia Hernandez first argues Trooper Pelster initiated the traffic stop
without reasonable and articulable suspicion of a traffic violation. “It is well established
that any traffic violation, regardless of its perceived severity, provides an officer with
probable cause to stop the driver.” United States v. Washington, 455 F.3d 824, 826 (8th
Cir. 2006). “To determine whether a traffic stop was based on probable cause or was
merely pretextual, an ‘objective reasonableness’ standard is applied.” United States v.


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Mallari, 334 F.3d 765, 766 (8th Cir. 2003). That is, “[a]n officer is justified in stopping a
motorist when the officer ‘objectively has a reasonable basis for believing that the driver
has breached a traffic law.’ ” Id. at 766-67 (quoting United States v. Thomas, 93 F.3d
479, 485 (8th Cir. 1996)).


       Trooper Pelster clocked the Expedition traveling in excess of the posted speed
limit of seventy-five (75) miles per hour using radar equipment which was calibrated
before and after every shift. Pelster advised Sonia Hernandez of the reason for the stop,
stating the vehicle was travelling up to 88 miles per hour and informing her that she
would be cited for speeding.        Based on the credible testimony of Trooper Pelster,
probable cause existed to initiate the traffic stop.


       2.     Detention


       Defendants argue Trooper Pelster extended the traffic stop longer than was
necessary to issue the speeding ticket and therefore the stop was an impermissibly long
detention for the purposes of the Fourth Amendment. “A constitutionally permissible
traffic stop can become unlawful ‘if it is prolonged beyond the time reasonably required
to complete’ its purpose. United States v. Peralez, 526 F.3d 1115, 1119 (8th Cir. 2008)
(quoting Illinois v. Caballes, 543 U.S. 405, 407, 125 S.Ct. 834, 160 L.Ed.2d 842 (2005)).
During a traffic stop an officer may complete routine tasks such as requesting the driver’s
license and the vehicle’s registration, reviewing criminal history, and asking questions
about the occupants’ destination, route, and purpose. See United States v. Riley, 684 F.3d
758, 764 (8th Cir. 2012)(internal citations omitted). “Whether a particular detention is
reasonable in length is a fact-intensive question, and there is no per se time limit on all
traffic stops. When there are complications in carrying out the traffic-related purposes of
the stop, for example, police may reasonably detain a driver for a longer duration than




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when a stop is strictly routine.” United States v. Olivera-Mendez, 484 F.3d 505, 510 (8th
Cir. 2007).


       Additionally, a traffic stop may be extended when the investigating officer, based
on the totality of the circumstances, has reasonable suspicion to believe criminal activity
unrelated to the stop may be present.


       If an officer develops reasonable suspicion regarding unrelated criminal
       conduct during the course of a lawful traffic stop, “an officer may broaden
       his inquiry and satisfy those suspicions” without running afoul of the
       Fourth Amendment. United States v. Jones, 269 F.3d 919, 926-27 (8th
       Cir.2001) (quotation omitted).           Reasonable suspicion requires
       “particularized, objective facts which, taken together with rational
       inferences from those facts, reasonably warrant suspicion that a crime is
       being committed.” United States v. Donnelly, 475 F.3d 946, 952 (8th
       Cir.2007) (quotation omitted); see also Terry v. Ohio, 392 U.S. 1, 20-21, 88
       S.Ct. 1868, 20 L.Ed.2d 889 (1968). “Whether an officer has reasonable
       suspicion to expand the scope of a traffic stop is determined by looking at
       the totality of the circumstances, in light of the officer's experience.”
       United States v. Linkous, 285 F.3d 716, 720 (8th Cir.2002) (quotation
       omitted).

United States v. Gill, 513 F.3d 836, 844 (8th Cir. 2008).


       Reasonable suspicion may evolve or increase during the course of the traffic stop
“as the circumstances unfold and more suspicious facts are uncovered.” Linkous, 285
F.3d at 720. In determining whether reasonable suspicion exists, officers “draw on their
own experience and specialized training to make inferences from and deductions about
the cumulative information available to them that might well elude an untrained person.’
United States v. Chartier, 772 F.3d 539, 543-44 (8th Cir. 2014) (quoting United States v.
Arvizu, 534 U.S. 266, 273, 122 S.Ct. 744, 151 L.Ed.2d 740 (2002) (internal citations
omitted)).



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       Defendants assert Trooper Pelster did not issue the speeding citation in a timely
manner because he intentionally, and impermissibly, prolonged the traffic stop for the
express purpose of conducting criminal interdiction. The time between the initial stop
and when Sonia Hernandez received the speeding citation and was free to leave was
approximately thirty-six (36) minutes. Trooper Pelster admits the stop lasted longer than
a routine stop for speeding, in part due to waiting for Defendants’ criminal and
background information from dispatch. The video of the traffic stop supports Trooper
Pelster’s testimony.


       The defendants may be arguing that a criminal history is unnecessary for a
speeding ticket, particularly when awaiting that history excessively prolongs the traffic
stop. Whatever merit this argument may have, it does not support a Fourth Amendment
violation under the totality of the facts presented in this case. Specifically, the following
facts support a finding of reasonable suspicion sufficient to justify prolonging
Defendants’ detention to investigate:

    Defendants planned to drive a rented car from Los Angeles, California to Buffalo,
     New York, return the car almost immediately upon arrival in Buffalo, fly from
     there to Virginia, stay in Virginia for an undetermined amount of time, and then
     return to Los Angeles.

    Sonia Hernandez could not explain why she was travelling to Buffalo; that is, she
     said she had no family or friends there and that she just wanted to take a road trip,
     but could not explain why Defendants picked Buffalo as their destination of
     choice.

    When asked why she was spending over $1,100 to rent a Ford Expedition for a
     one-way trip to Buffalo, Sonia Hernandez stated it was more cost effective than
     flying because roundtrip airfare from California to Virginia was approximately
     $1,000 per ticket. But she also stated that she had not purchased plane tickets for
     flying from Buffalo to Virginia or from Virginia back to California.

    Sonia Hernandez stated she did not have any relatives in Buffalo, New York. But
     Freddy Hernandez, Jr. stated they were traveling to Buffalo to visit relatives.
     However, he did not know the names of the relatives they planned to visit.

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       Within minutes after initiating the traffic stop, Trooper Pelster was aware of Sonia
Hernandez’ implausible statements about their travel plans, her unconvincing reason to
travel to Buffalo in a rented vehicle, and Freddy Hernandez, Jr.’s inconsistent response
regarding why they were heading to Buffalo and whom they were staying while there.
These facts alone provided Trooper Pelster with the requisite reasonable suspicion to
prolong the traffic stop for further investigation. See United States v. Bracamontes, 614
F.3d 813, 816 (8th Cir. 2010) (finding reasonable suspicion where a driver’s statement
about his travel plans were internally inconsistent and contradicted his passenger’s
account to the reason for travel)(collecting cases); United States v. Barragan, 379 F.3d
524, 529 (8th Cir. 2004)(holding conflicting stories provided by vehicle occupants may
justify expanding a vehicle stop and detaining the occupants to investigate possible
criminal activity). Additionally, Trooper Pelster, who has received significant training in
criminal interdiction, identified the Hernandez’ travel as originating in a drug source
state, with the rental car destination being a drug distribution center. While this fact, in
and of itself, is not particularly suspicious, when combined with the irrational travel
plans, the Defendants’ inconsistent statements about those plans, Sonia Hernandez’
criminal history report (which was inconsistent with her self-reported criminal history),
and information indicating Sonia Hernandez was the subject of an ongoing federal
investigation, Trooper Pelster had a reasonable and articulable suspicion to believe
Defendants were engaged in criminal activity. As such, he was permitted to extend the
stop and detain Defendants for a reasonable period of time while he investigated those
suspicions. See United States v. White, 42 F.3d 457, 460 (8th Cir. 1994)(reasonable
suspicion was supported when origin of travel was a known source city for drugs to a use
or distribution city); See also United States v. Coleman, 603 F.3d 496, 500 (8th Cir.
2010) (travel from a drug source state is one factor contributing to a finding of reasonable
suspicion).




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       Once Trooper Pelster returned the citation and other paperwork, Trooper Pelster
immediately asked Sonia Hernandez for consent to the search the Expedition. Sonia
Hernandez declined, but she did agree to wait for a K-9 unit to arrive at the scene for a
canine sniff of the Expedition. Freddy Hernandez, Jr. also consented to wait for the
canine’s arrival. From the time when Defendants consented to a canine sniff until they
were arrested, Defendants detention was consensual.1 And prior to Defendants’ consent
to the canine sniff, Trooper Pelster had requisite reasonable suspicion to prolong the stop.
The defendants were not detained in violation of their Fourth Amendment rights.


       3.     The Vehicle Search2


       “The Fourth Amendment protects an individual’s right to be free from
unreasonable searches and seizures. . . Searches conducted without a warrant are per se
unreasonable, subject to a few well-established exceptions.” United States v. Cortez-
Palomino, 438 F.3d 910, 913 (8th Cir. 2006).


       “As long as the law enforcement officials have probable cause, they may search an
automobile without a warrant under the automobile exception.” United States v. Fladten,
230 F.3d 1083, 1085 (8th Cir. 2000). “Probable cause exists ‘when, given the totality of
the circumstances, a reasonable person could believe there is a fair probability that
contraband or evidence of a crime will be found in a particular place.’ ” United States v.
Mayo, 627 F.3d 709, 713(8th Cir. 2010)(quoting Fladten, 230 F.3d at 1085).


       Sonia Hernandez argues Trooper Pelster and Sergeant Pleiss lacked probable
cause to conduct a warrantless search of the Expedition.           The Government argues

       1
        Defendants do not challenge the consensual nature of the encounter once Sonia
Hernandez had her license, vehicle information, and citation.
       2
          Freddy Hernandez, Jr. does not contest the propriety of the vehicle search and likely
lacks standing to do so. See United States v. Barragan, 379 F.3d 524, 529 (8th Cir. 2004).

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Trooper Pelster’s reasonable suspicion evolved into probable cause when Trooper
Pelster’s observed what he believed to be drug packaging in the vehicle’s rear quarter
panel, and marks or exposed clips indicating the plastic cover for that area had been pried
up.


       The video recording of the traffic stop reveals a candid and spontaneous
conversation between Trooper Pelster and Sergeant Pleiss while they awaited the arrival
of the K-9 unit. Based on this recording, and the officers’ credible testimony, Trooper
Pelster looked into the window above the rear quarter panel and saw what he believed to
be packaging material consistent with transporting illegal drugs, and it appeared the cover
over that quarter panel area had been pried up and reseated improperly or incompletely
over the opening. See Ex. 2, photograph IMG_2865. Sergeant Pleiss verified Trooper
Pelster’s observations. The officers cancelled the canine sniff, concluding their plain
view of apparent drug packaging and pry marks—particularly in the context of
Defendants’ implausible and inconsistent explanation of their travel plans, Sonia
Hernandez’ untruthful answer about her criminal history, and the ongoing investigation
of Sonia Hernandez—supported a finding of probable cause.


       The court agrees. The officers had probable cause to believe the vehicle was
being used to transport illegal drugs and to conduct a warrantless search of the Expedition
for illegal narcotics. The vehicle search did not violate the Fourth Amendment. See
Cortez-Palomino, 438 F.3d at 913 (upholding search where law enforcement officers,
relying upon their experience, observed three large packages wrapped in green
cellophane and the presence of drug masking agents); United States v. Barnes, 374 F.3d




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601, 604-05 (8th Cir. 2004)(probable cause for warrantless search found where officer
recognized packages hidden inside door panels as possible contraband).3


        Accordingly,


      IT HEREBY IS RECOMMENDED to the Honorable John M. Gerrard, that Sonia
Hernandez’ Motion to Suppress (Filing No. 42) and Freddy Hernandez’, Jr’s Motion to
Suppress (Filing No. 40) should be denied.

       The defendants are notified that failing to file an objection to this recommendation
as provided in the local rules of this court may be held to be a waiver of any right to
appeal the court's adoption of the recommendation.

       IT IS ORDERED that the jury trial of this case is set to commence before John M.
Gerrard, United States District Judge, in Courtroom 1, United States Courthouse,
Lincoln, Nebraska, at 9:00 a.m. on June 15, 2015, or as soon thereafter as the case may
be called, for a duration of five (5) trial days. Jury selection will be held at the
commencement of trial.


        Dated this 11th day of May, 2015

                                                               BY THE COURT:
                                                               s/ Cheryl R. Zwart
                                                               United States Magistrate Judge




        3
          Both defendants seek to suppress the seized evidence and their subsequent statements as
“fruit of the poisonous tree.” Having found the stop, detention and search to be lawful, the court
need not address Defendants’ argument on that topic.

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